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                               UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION

                              CASE NO. 23-80101-CR-CANNON(s)

  UNITED STATES OF AMERICA,

                 Plaintiff,

  v.

  DONALD J. TRUMP,
  WALTINE NAUTA, and
  CARLOS DE OLIVEIRA,

              Defendants.
  ______________________________/


                       GOVERNMENT’S SUPPLEMENTAL RESPONSE
                          TO STANDING DISCOVERY ORDER

         The United States of America, by and through the Special Counsel’s Office, files this

  pleading to supplement prior responses (ECF Nos. 30, 59, 80, 92, 113, 122, 143) to the Standard

  Discovery Order, issued on June 13, 2023 (ECF No. 16).        This pleading complies with Local

  Rule 88.10 and Federal Rule of Criminal Procedure 16.

         Per the protective order issued in this case (ECF No. 27), the Government has provided

  five prior productions of discovery to Defendants Donald J. Trump, Waltine Nauta, and Carlos De

  Oliveira.   See ECF Nos. 30, 59, 80, 92, 113, 122, 143.    On October 6, 2023, the Government

  provided a sixth production of unclassified discovery to counsel for Defendants (“Production 6”).

  Production 6 consists of less than 1,900 pages and includes, inter alia, memorialization of recent

  witness statements and materials recently obtained from the National Archives and Records

  Administration (“NARA”).
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         The Government responds to the specific items identified in the standing discovery order

  as set forth below.

         B.      DEMAND FOR RECIPROCAL DISCOVERY: The United States requests the
                 disclosure and production of those items described and listed in paragraph B of the
                 Standing Discovery Order, and as provided by Federal Rule of Criminal Procedure
                 16(b).

         C.      The Government is providing information or material known to the United States
                 that may be favorable to either defendant on the issues of guilt or punishment within
                 the scope of Brady v. Maryland, 373 U.S. 83 (1963), or United States v. Agurs, 427
                 U.S. 97 (1976).

         D.      The Government has disclosed and will continue to disclose any payments,
                 promises of immunity, leniency, preferential treatment, or other inducements made
                 to prospective Government witnesses, within the scope of Giglio v. United States,
                 405 U.S. 150 (1972), or Napue v. Illinois, 360 U.S. 264 (1959).

         J.      The Government’s discovery productions include the grand jury testimony and
                 recordings of witnesses who may testify for the Government at the trial of this case.

         The Government will continue to produce on a rolling basis additional unclassified witness

  material as it is acquired.   Aside from that and additional Jencks material—in particular, agent

  communications—the Government is not aware of any additional unclassified discovery material

  subject to production.

         The Government is aware of its continuing duty to disclose newly discovered additional

  information required by the Standing Discovery Order, Rule 16(c) of the Federal Rules of Criminal

  Procedure, Brady, Giglio, Napue, and the obligation to assure a fair trial.




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                                     Respectfully submitted,

                                     JACK SMITH
                                     Special Counsel

                               By:   /s/ Jay I. Bratt
                                     Jay I. Bratt
                                     Counselor to the Special Counsel
                                     Special Bar ID #A5502946
                                     950 Pennsylvania Avenue, NW
                                     Washington, D.C. 20530

                                     Julie A. Edelstein
                                     Senior Assistant Special Counsel
                                     Special Bar ID #A5502949

                                     David V. Harbach, II
                                     Assistant Special Counsel
                                     Special Bar ID #A5503068




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                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on October 6, 2023, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

  is being served this day on all counsel of record via transmission of Notices of Electronic Filing

  generated by CM/ECF.



                                               /s/ Julie A. Edelstein
                                               Julie A. Edelstein
                                               Senior Assistant Special Counsel




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